               Case 2:17-cv-00082-DN Document 91 Filed 07/13/18 Page 1 of 2




                               IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


    ELIZABETH YOUNG and NICHOLAS                     ORDER GRANTING STIPULATED
    KETRON,                                          MOTION FOR CONTINUANCE OF
                                                     TIME TO ANSWER SAN JUAN
                               Plaintiffs,           COUNTY DEFENDANTS’ MOTION
    v.                                               FOR SUMMARY JUDGMENT

    JESSE COLE YOUNG, a Monticello City
    Police Officer, in his individual and official
    capacities: KENT ADAIR, Former                   Case No. 2:17-cv-00082-DN
    Monticello City Chief of Police, in his
    individual and official capacities; CLAYTON      Magistrate Judge: David Nuffer
    BLACK, Monticello City Chief of Police, in
    his individual and official capacities; TY
    BAILEY, Monticello City Manager, in his
    individual and official capacities; SUE
    REDD, San Juan County Dispatcher, in her
    individual and official capacities; JOSEPH
    HARRIS, a San Juan County Sheriff’s
    Deputy, in his individual and official
    capacities; MONTICELLO CITY: SAN
    JUAN COUNTY and JOHN DOES 1-5,

                                 Defendants.



           Based upon the parties’ Stipulated Motion for Continuance of Time Wherein to Answer

San Juan County Defendants’ Motion for Summary Judgment (the “Motion”), 1 and good cause

appearing therefore;




1
    Docket no. 90, filed July 10, 2018
              Case 2:17-cv-00082-DN Document 91 Filed 07/13/18 Page 2 of 2




           IT IS HEREBY ORDERED that the Motion 2 is GRANTED. Plaintiffs shall have until

August 11, 2018 to answer the Motion for Summary Judgment. 3

                   Signed July 13, 2018

                                                     BY THE COURT


                                                     ________________________________________
                                                     David Nuffer
                                                     United States District Judge




2
    Id.
3
    San Juan County Defendant’s Motion for Summary Judgment, docket no. 89, filed June 14, 2018.



                                                        2
